04/12/2016                           TUESDAY                                           Judge Randall L. Dunn

10:00 15-35133 rid 7 bk              Elbert G Garboden and Sherry L Garboden
                                     Motion to Settle & Compromise (21)
                                     Elbert G Garboden - d              -# ACrlLLLL A U/\X I
                                     Sherry L Garboden - jd
                                     Amy E Mitchell - tr




Evidentiary Hearing:          Yes:   0           No:




Order to be prepared by:   0 Clerk's Office 0 Chamber
DOCKET ENTRY:




                                                                          Run Date:       04/12/16

                              Case 15-35133-rld7           Doc 38   Filed 04/12/16
